565 F.2d 1214
    Siegelv.Associated Indemnity Corp.***
    No. 77-2611
    United States Court of Appeals, Fifth Circuit
    12/14/77
    N.D.Ga., 432 F.Supp. 533
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterpr ises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    